 

Case 4:22-cr-20539-SDK-Cl ECF No. 14, PagelD.32 Filed 10/19/22 Page 1 of 4

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

Plaintiff,

Case:4:22-cr-20539
Vv. Judge: Kumar, Shatina D.

MJ: ivy, Curtis

Filed: 10-19-2022 At 03:19 PM
RAMIRO C. BARAJAS, Jr., INDI USA v BARAJAS, JR. (sk)

also known as “Chito” and “Fig,”

Defendant.

 

INDICTMENT

 

THE GRAND JURY CHARGES:
COUNT ONE
POSSESSION OF A FIREARM AND AMMUNITION
BY A PROHIBITED PERSON
(18 U.S.C. § 922(g)(4))

On or about August 31, 2021, in the Eastern District of Michigan, RAMIRO
C. BARAJAS, Jr., knowing he had previously been convicted of a crime punishable
by imprisonment for a term exceeding one year, knowingly possessed a firearm and
ammunition, specifically a Smith and Wesson, model M&P shield EZ, .380 caliber
pistol and nineteen rounds of 380 caliber ammunition, and the firearm and

ammunition were in and affecting commerce, all in violation of Title 18, United

States Code, Section 922(g)(1).

 

 
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COUNT TWO
POSSESSION OF A FIREARM AND AMMUNITION
BY A PROHIBITED PERSON
(18 U.S.C. § 922(g)(1))
On or about January 12, 2022, in the Eastern District of Michigan, RAMIRO
C. BARAJAS, Jr., knowing he had previously been convicted of a crime punishable
by imprisonment for a term exceeding one year, knowingly possessed a firearm and
ammunition, specifically a SCCY Industries, model CPX-1, 9mm caliber pistol and

assorted rounds of 9mm caliber ammunition, and the firearm and ammunition were

in and affecting commerce, all in violation of Title 18, United States Code, Section

922(g)(1).

COUNT THREE
POSSESSION OF A FIREARM AND AMMUNITION
BY A PROHIBITED PERSON
(18 U.S.C. § 922(g)(1))

On or about September 20, 2022, in the Eastern District of Michigan,
RAMIRO C. BARAJAS, Jr., knowing he had previously been convicted of a crime
punishable by imprisonment for a term exceeding one year, knowingly possessed a
firearm and ammunition, specifically a Davis Industries, model P380, .380 caliber
pistol and ten rounds of .380 caliber ammunition, and the firearm and ammunition

were in and affecting commerce, all in violation of Title 18, United States Code,

Section 922(g)(1).

 

 
 

 

 

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FORFEITURE ALLEGATION- FIREARM AND AMMUNITION
(18 U.S.C. § 924(d)(1))

The allegations contained in Counts One, Two and Three of this Indictment
are hereby re-alleged and incorporated by reference for the purpose of alleging
forfeiture pursuant to Title 18, United States Code, Section 924(d)(1) together with
Title 28, United States Code, Section 2461.

Upon conviction of any offense charged in Counts One, Two or Three,
RAMIRO C. BARAJAS, Jr, shall forfeit to the United States, pursuant to Title 18,

United States Code, Section 924(d){1), any firearm or ammunition involved in said

 

 

 

offense.
THIS IS A TRUE BILL.

Dated: October 19, 2022 s/Grand Jury Foreperson
GRAND JURY FOREPERSON

DAWN N. ISON

United States Attorney

s/JULES M. DEPORRE s/ANTHONY P. VANCE

JULES M. DePORRE (P73999) ANTHONY P. VANCE (P61148)

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Case:4:22-cr-20539
Companion Case information MUST be completed by ge met Shalina D. _
—— — - Ivy, Curti
United States District Court Criminal Case C  Fifed: 10-19-2022 At 03:19 PM
Eastern District of Michigan INDI USA v BARAJAS, JR. (sk)

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

 

 

Companion Case Information Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b){4)": Judge Assigned:
[_] Yes No AUSA’s Initials: JMD

 

 

 

Case Title: USAV. Ramiro C. Barajas, Jr.

County where offense occurred : Genesee

 

Check One: Felony [1] Misdemeanor ] Petty
Indictment/ Information --- no prior complaint.
X Indictment/ Information --- based upon prior complaint (Case number: 22-mj-30401 ]
indictment! Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: Judge:

 

CI Original case was terminated; no additional charges or defendants.
Corrects errors; no additional charges or defendants.
[] Involves, for plea purposes, different charges or adds counts.
[_] Embraces same subject matter but adds the additional defendants or charges betow:

Defendant name Charges Prior Complaint (if applicable}

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

October 19, 2022 s/Jules M. DePorre
Date Jules M. DePorre

Assistant United States Attorney
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Flint, Michigan 48502
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Email: Jules. DePorre@usdoj.gov

P73999

 

’ Companion cases are matters in which it appears that (1) Substantially similar evidence will be offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.
03/11/2013

 

 
